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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY


 INTERLINK PRODUCTS INTERNATIONAL
 INC.,

               Plaintiff/Counter-Defendant,            Civil Action No. 2:16-cv-02153-MCA-LDW

        v.

CATHY TRADING, LLC d/b/a WANTBA                        MOTION RETURN DATE: MAY 15, 2017

               Defendant/Counter-Claimant.



  BRIEF IN SUPPORT OF DEFENDANT/COUNTER-CLAIMANT CATHY TRADING,
  LLC’S MOTION FOR LEAVE TO FILE AN AMENDED ANSWER, AFFIRMATIVE
                    DEFENSES AND COUNTERCLAIMS
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 I.     BACKGROUND

        Defendants/Counter-Claimant Cathy Trading, LLC (“Cathy Trading”) respectfully

 request leave to file an Amended Answer, Affirmative Defenses and Counterclaims (“Amended

 Answer”) in the above-captioned case. Pursuant to Local Rule 7.1(f), a copy of the proposed

 Amended Answer is submitted herewith along with a redline version identifying the new

 sections for the Court (attached as Exhibit A and B, respectively to the Certification of Counsel).

 This Amended Answer deleted the NJCFA claims, the false advertising claim relating to the flow

 rate regulator based on the removal theory, and the Common law unfair competition based on the

 flow regulator removal instructions theory. The Amended Answer re-plead the false advertising

 claim based on the flow rate violation as order by Hon. Judge Arleo in her Opinion dated March

 9, 2017. The Amended Answer added a claim of violation of the common law unfair competition

 principles, specifically asserting Plaintiff/Counter-defendant engaging in unfair business

 practices by circumventing and violating Federal Laws that require the manner flow regulators to

 be installed in each showerhead product being distributed in the market place, and thus gaining

 illegal competitive advantages over Cathy Trading and other competitors similar situated in the

 market place.

        Pursuant to Federal Rule of Civil Procedure 15(a), Cathy Trading should be granted leave

 to file the proposed Amended Answer that is attached to Cathy Trading’s Motion for Leave and

 Brief in Support of Defendant’s Motion for Leave.

 II.    LEGAL STANDARD

        Federal Rule of Civil Procedure 15(a) allows a pleading, including an answer or

 counterclaim, to be amended after a responsive pleading is served, “by leave of court,” and states

 that “leave shall be freely given when justice so requires.” Fed. R. Civ. P. 15(a). While the
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 decision to grant leave to amend “rests within the discretion of the Court,” leave should be

 granted unless equitable factors, such as undue delay, bad faith, or undue prejudice, demonstrate

 that amendment would be “unjust,” or the amendment would be “futile.” See Metex Mfg. Corp.

 v. Manson Envtl. Corp., 2008 U.S. Dist. LEXIS 11542, at *6 (D.N.J. 2008) (citing Foman v.

 Davis, 371 U.S. 178, 182 (1962)). “Prejudice under R. 15(a) means undue difficulty in

 prosecuting a lawsuit as a result of a change of tactics or theories on the part of the other party.”

 Id. (quoting Deakyne v. Commissioners of Lewes, 416 F.2d 290, 300 (3d Cir. 1969)).

 “Prejudice,” involves serious impairment of the nonmovant’s ability to present its case. Otsuka

 Pharm. Co., Ltd. v. Barr Labs. Inc. et al., 2008 U.S. Dist. LEXIS 99214, at *12 (D.N.J. Dec. 5,

 2008). Incidental prejudice to the nonmoving party is not a sufficient basis for denial of an

 amendment. Id. Futility “may only serve as a basis for denial of leave to amend when the

 proposed amendment is frivolous or advances a claim that is legally insufficient on its face.”

 Metex Mfg. Corp., 2008 U.S. Dist. LEXIS, at *6 (quoting Pharmaceutical Sales and Consulting

 Corp. v. J.W.S. Delavau Co., Inc., 106 F. Supp. 2d 761, 764 (D.N.J. 2000)). As a general matter,

 rules of procedure should be liberally construed. In re Continental Airlines, 125 F. 3d 120, 129

 (3d Cir. 1997), cert. denied, 522 U.S. 1114 (1998). The Supreme Court has instructed that leave

 to amend pleadings is to be liberally granted in the absence of “undue delay, bad faith or dilatory

 motive on the part of the movant, repeated failure to cure deficiencies by amendments previously

 allowed, undue prejudice to the opposing party by virtue of allowance of the amendment, [and]

 futility of amendment.” Foman v. Davis, 371 U.S. 178, 182 (1962). This liberality is

 underscored by the fact that leave to amend may be granted “at any time during the litigation,

 even after judgment or on appeal.” Mantz v. Chain, 239 F. Supp. 2d 486, 505 (D.N.J. 2002). In

 fact, the Third Circuit has stated that it is an abuse of discretion for a court to deny leave to



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 amend unless one of the aforementioned reasons is found. Alvin v. Suzuki, 227 F.3d 107, 121 (3d

 Cir. 2000).


 III.    ARGUMENTS

         Cathy Trading should be granted leave to file the proposed Amended Answer submitted

 herewith. Leave is appropriate here for at least the following reasons.

         First, Cathy Trading’s Motion for Leave to File the Amended Answer will not prejudice

 any party as it is timely, and made in good faith. Interlink simply cannot meet the substantial

 burden of proving prejudice or any other aforementioned reason that would warrant denial of

 Cathy Trading’s request. As this Court explained in In re Bristol-Myers Squibb Secs. Litig., 228

 F.R.D. 221, 228 (D.N.J. 2005), “the nonmoving party has a heavier burden than merely claiming

 prejudice, it must show that an unfair disadvantage or deprivation will result by allowing the

 amendment.” Incidental prejudice to the nonmoving party will not suffice. Ibid. Rather, the

 nonmoving party must show “that it would be unfairly disadvantaged or deprived of the

 opportunity to present facts or evidence that it would have offered.” Ibid.

         Cathy Trading’s Motion is timely given that Interlink, during the Meet and Confer

 attended by Counsels representing both parties on March 24, 2017, Interlink stated that

 depending upon what counterclaims were made in the Amended Answer, Affirmative Defenses

 and Counterclaims, Interlink would probably consent to Cathy Trading’s filing of its Amended

 Answer if the Amended Answer was filed on or before April 4, 2017. Cathy Trading served

 Interlink its Amended Answer on April 4, 2017 and Interlink told Cathy Trading that it objected

 to that version.

         As set forth in the Amended Answer, Cathy Trading re-pleaded its flow rate counterclaim

 as required by this Court. Further, Cathy Trading’s Amended Answer cited facts alleged by


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 another litigant who was sued by Interlink based on similar set of complaints and who has

 conducted adequate investigation prior to the filing of its Counterclaims, see Exhibit E entitled

 Answer and Counterclaims by BBC Innovation Corporation against Interlink (“BBC

 Counterclaims”)    to   Cathy    Trading’s    Amended      Answer,    Affirmative     Defenses    and

 Counterclaims. Those facts appeared in a publicly available document filed with this Court and

 readily obtainable on Pacer, a collective court document database for litigants and general public

 to gain information on the American legal system. Although the allegations made in the BBC

 Counterclaims are not ready to be determined as to its accuracy, however, these allegations were

 not dismissed by this Court, and they satisfied the pre-filing investigation standard required by

 the Supreme Court in the Iqbal Case. To survive a Rule 12(b)(6) motion, a complaint must

 contain sufficient factual allegations, assuming they are true, to state a facially plausible claim to

 relief. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009); Bell Atlantic Corp. v. Twombly, 550 U.S. 544,

 570 (2007). The Supreme Court has stressed that a claim is plausible if and “… when the

 plaintiff pleads factual content that allows the court to draw the reasonable inference that the

 defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at 678.

        Rule 201(b) of the Federal Rules of Evidence provides that: “[t]he court may judicially

 notice a fact that is not subject to reasonable dispute because it: (1) is generally known within the

 trial court's territorial jurisdiction; or (2) can be accurately and readily determined from sources

 whose accuracy cannot reasonably be questioned.” Fed. R. Evid. 201(b). Rule 201(c)(2) provides

 that the court “must take judicial notice if a party requests it and the court is supplied with the

 necessary information.” Fed. R. Evid. 201(c)(2).

        A Court can take judicial notice that documents were filed on Pacer (i.e., that the

 documents filed on Pacer are an accurate copy of the court documents and were filed in the



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 course of litigation in a particular court) but cannot take judicial notice that the contents of the

 documents are themselves true. See Southern Cross Overseas Agencies, Inc. v. Wah Kwong

 Shipping Group, Ltd., 181 F.3d 410, 426–27 n.7 (3d Cir.1999) (“Recently, courts and

 commentators have paid more attention to the distinction between judicially noticing the

 existence of prior proceedings and judicially noticing the truth of the facts averred in those

 proceedings. It has been suggested that the appropriate analogy is the hearsay rule which allows

 an out-of-court statement to be admitted into evidence for purposes other than establishing the

 truth of the statement.”); O'Boyle v. Braverman, 337 Fed. Appx. 162, 164–65 (3d Cir. 2009)

 (deciding that a district court could take judicial notice of state court filings in resolving a Rule

 12(b)(6) motion for the purpose of determining the date on which the prior litigation was

 dismissed, as the existence of the filings was not subject to reasonable dispute).

        Here, Cathy Trading cited the facts alleged in the BBC Counterclaims to show the time

 frame when Interlink misrepresented the flow rates of its showerhead products and the manner

 how Interlink misrepresented the flow rates. The flow rates misrepresentation is a question of

 fact, and it requires further investigation and discoveries to be conducted, including but not

 limited to, obtaining actual showerhead products distributed prior to June 25, 2015 and/or testing

 reports of Interlink’s showerhead products distributed at the same time frame, and all related

 documents and things.

        Second, Cathy Trading amended its counterclaim of unfair competition against Interlink

 based on newly developed facts and theory. This counterclaim is not based on the same theory

 as the previous counterclaim, which is based on Interlink’s instructions of flow restrictor removal

 theory, and which was dismissed by this Court. However, Cathy Trading’s new counterclaim of

 unfair competition is based on Interlink’s violation of the Federal law that requires flow



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 restrictors being installed with 8 pounds of force in order to be effectively reducing the flow rate

 of the showerheads. This counterclaim is developed based on recent testing being conducted

 against Interlink’s products. This is a plausible counterclaim based on newly discovered facts.

 There is no undue prejudice against Interlink as the theory of unfair competition breach was

 already in Cathy Trading’s prior Answer and Counterclaims. Further, this proposed

 amendment is not futile because it is based on new and continued discovery and

 investigation conducted by Cathy Trading.            This new counterclaim adds to a previously

 existing counterclaim.    Interlink would not be unfairly disadvantaged or deprived of the

 opportunity to present facts or evidence that it would have offered, and thus would not be

 prejudiced.



 IV.    CONCLUSION

        For the reasons stated above, Cathy Trading respectfully requests that the Court grant its

 Motion for Leave to File an Amended Answer, Affirmative Defenses, and Counterclaims, and

 grant Cathy Trading leave to file the proposed Amended Answer, Affirmative Defenses, and

 Counterclaims submitted herewith.



 Dated: April 10, 2017                        Respectfully Submitted,

                                              HILL WALLACK LLP

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